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MJC:maz 95475    \Pleadings\95475 13 Stip 11-4-22


                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND

DENORAH REYNOSO                                          :
                                                         :
       VS.                                               :    C.A. NO. 22-cv-00044-JJM-PAS
                                                         :
KYLE ENDRES, alias, ET AL                                :

                                                    STIPULATION

       During the discovery in this action, the defendants sought the identification and contact

information for persons who were at or about the location of the incident involved in this matter, to

wit, 102 Wesleyan Avenue. The plaintiff objected to providing such information on various grounds.

The parties have resolved this discovery dispute by way of the following stipulation:

               The plaintiff will not have nor seek to have any witness testify at trial
               (for any purpose for or against any party hereto) who was present at or
               about 102 Wesleyan Avenue on January 27, 2019, and whose identify
               and contact information is/was not disclosed to any of the defendants on
               or before November 1, 2022.

       Nothing herein shall preclude the plaintiff from calling any of the defendants as witnesses.

Moreover, nothing herein shall preclude the plaintiff from calling any City employees/agents as

witnesses (such as police officers or firefighters) whether or not they were present at or about the said

102 Wesleyan Avenue, provided required disclosures are made per the Rules of Procedure and/or any

governing scheduling orders.

       Likewise, with regard to any persons that the defendants may call as witnesses, nothing herein

is intended to relieve the defendants of any and all disclosure obligations required by the Rules of

Procedure and/or any governing scheduling orders.
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                                           CERTIFICATION

       I hereby certify that I have filed the within with the United States District Court on this 14th
day of November, 2022, that a copy is available for viewing and downloading via the ECF system,
and that I have caused a copy to be sent to:

Shannah Kurland, Esq.
149 Lenox Avenue
Providence, RI 02907

Steven B. Nelson, Esq.
Jillian H. Barker, Esq.
Senior Assistant City Solicitor
City Solicitor's Office
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                                                             /s/ Michael J. Colucci




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